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                                                                                                     United States Bankruptcy Court
                                                                                                          Southern District of Texas

                                                                                                             ENTERED
                                                                                                          February 12, 2024
                        IN THE UNITED STATES BANKRUPTCY COURT                                             Nathan Ochsner, Clerk
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

    In re: FTI CONSULTING INC.                           §
                                                         §
    Proceedings to Enforce                               §   Misc. Proceeding No. 24-00351
    Fed. R. Bankr. P. 9036                               §

    ORDER REQUIRING FTI CONSULTING INC. TO APPEAR THROUGH COUNSEL
                 AT A STATUS CONFERENCE ON 03/14/2024

        The Administrative Office of the United States Courts has advised the Court that FTI
CONSULTING INC. has been designated as a high-volume paper-notice recipient of bankruptcy
notices under Federal Rule of Bankruptcy Procedure 9036. A high-volume paper-notice recipient
is currently defined as an entity that has been mailed 50 or more notices in any calendar month by
the Bankruptcy Noticing Center. Federal Rule of Bankruptcy Procedure 9036 mandates that high
volume recipients (with limited exceptions) must receive electronic notices.

    The Administrative Office of the United States Courts has advised the Court that FTI
CONSULTING INC. has failed to register to receive electronic bankruptcy notices.

        On 03/14/2024 at 11:00 AM at Courtroom 404, 515 Rusk, Houston, TX 77002, the Court
will conduct a status conference to determine what action should be taken to compel (if necessary)
FTI CONSULTING INC. to comply with Federal Rule of Bankruptcy Procedure 9036. FTI
CONSULTING INC. is ordered to appear at the status conference through counsel. Counsel
should be prepared to advise the Court on the steps that FTI CONSULTING INC. is taking to
assure comprehensive compliance with Federal Rule of Bankruptcy Procedure 9036.1

       Parties and counsel may appear in person, or via videoconference and telephone. Audio
access will be at (832) 917-1510, conference room number 954554. Video access will be at
www.goto.com/meeting/join#, meeting room “judgeisgur”.

        In lieu of attendance at the scheduled status conference, FTI CONSULTING INC. may
complete and file Exhibit A, confirming that it has completed its registration for electronic
noticing and will receive court notices at an email address chosen by the entity.2 Alternatively,
FTI CONSULTING INC. may complete and file Exhibit B, confirming that it wishes to receive
its court notices at an electronic account created for the entity by the Bankruptcy Noticing Center.


1
  In addition to any appropriate sanctions, failure to comply with this Order or register for electronic noticing will
result in the cessation of paper noticing from the U.S. Bankruptcy Courts and the creation of an electronic account
for you by the Bankruptcy Noticing Center, as set forth in Exhibit B.

2
 Registration for electronic bankruptcy noticing is at the following web site:
https://bankruptcynotices.uscourts.gov/register.
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Any completed exhibit and accompanying materials must be filed with the Court not less than 72
hours prior to the commencement of the scheduled status conference.

        The Clerk will serve this on FTI CONSULTING INC. by United States Mail and file a
Certificate of Service.



 Signed: 2/12/2024

                                                    ____________________________________
                                                                  Marvin Isgur
                                                        United States Bankruptcy Judge
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                                           EXHIBIT A

                    IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

 In re: FTI CONSULTING INC.                   §
                                              §
 Proceedings to Enforce                       §   Misc. Proceeding No. 24-00351
 Fed. R. Bankr. P. 9036                       §

                   STATEMENT CONFIRMING REGISTRATION FOR
                      ELECTRONIC BANKRUPTCY NOTICING

       This Statement is filed on behalf of FTI CONSULTING INC..

         The entity identified above received the Court’s Order requiring attendance at a status
conference to assure compliance with the electronic noticing requirements of Federal Rule of
Bankruptcy Procedure 9036. The Order authorizes the filing of this statement in lieu of attendance
at the status conference.

        The entity identified above registered for electronic bankruptcy noticing on
____________. The entity has attached to this statement a copy of the confirmation email it
received from the Bankruptcy Noticing Center reflecting that it has completed its registration for
electronic noticing. By registering for electronic bankruptcy noticing, the entity has agreed to
receive its bankruptcy notices from the U.S. Bankruptcy Courts at the email address identified on
the attached confirmation email from the Bankruptcy Noticing Center.

        The individual signing this statement represents that the individual is an authorized agent
of the entity identified above.



                              Signature:     _____________________________________

                          Typed Name:        _____________________________________

                                  Date:      _____________________________________
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                                            EXHIBIT B

                    IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION

 In re: FTI CONSULTING INC.                    §
                                               §
 Proceedings to Enforce                        §   Misc. Proceeding No. 24-00351
 Fed. R. Bankr. P. 9036                        §

  STATEMENT ACCEPTING ELECTRONIC COURT NOTICES AT AN ACCOUNT
          CREATED BY THE BANKRUPTCY NOTICING CENTER

       This Statement is filed on behalf of FTI CONSULTING INC..

         The entity identified above received the Court’s Order requiring attendance at a status
conference to assure compliance with the electronic noticing requirements of Federal Rule of
Bankruptcy Procedure 9036. The Order authorizes the filing of this statement in lieu of attendance
at the status conference.

         The entity identified above is aware that, beginning on May 26, 2023, it will no longer be
sent paper bankruptcy notices from the U.S. Bankruptcy Courts. The entity confirms that it wishes
to receive its bankruptcy notices from the U.S. Bankruptcy Courts at an electronic account created
for the entity by the Bankruptcy Noticing Center. The entity confirms that it will take the necessary
steps to access the electronic account in accordance with the instructions provided to the entity in
separate letters from the Bankruptcy Noticing Center.

        The individual signing this statement represents that the individual is an authorized agent
of the entity identified above.


                               Signature:     _____________________________________

                           Typed Name:        _____________________________________

                                   Date:      _____________________________________
